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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

CHERYL GREEN, individually
and derivatively on behalf of
Hill-Kelly Dodge, Inc.,

      Plaintiff,

v.                                                 Case No. 3:18cv2393-TKW-HTC

MALINDA FIVEASH and HKD
PROPERTIES, INC.,

      Defendants.

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                                       ORDER

      Based on the joint stipulation of dismissal with prejudice (Doc. 121), it is

ORDERED that this case is dismissed with prejudice pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), and the Clerk shall close the file.

      DONE and ORDERED this 11th day of February, 2020.

                                         T. Kent Wetherell, II
                                         T. KENT WETHERELL, II
                                         UNITED STATES DISTRICT JUDGE
